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                          In the United States District Court
                         for the Eastern District of Michigan
                                  Southern Division


Chris Connolly,
                                              Case No.
            Plaintiff,
                                              Judge
       v.
                                              Magistrate Judge
STA Management, LLC; Amer
Asmar d/b/a Domino’s Pizza; John              Jury Demand Endorsed Hereon
Doe Corp. 1-10; John Doe 1-10,

            Defendants.


                            Complaint and Jury Demand



 I.   Introduction

      1.    Chris Connolly brings this action against STA Management, LLC

and Amer Asmar d/b/a Domino’s Pizza. Plaintiff seeks appropriate monetary,

declaratory, and equitable relief based on Defendants’ willful failure to

compensate Plaintiff with minimum wages as required by the Fair Labor

Standards Act (“FLSA”) and M.C.L. §408.414.

      2.    Defendants       operate     approximately     54    Domino’s     pizza

restaurants in the State of Michigan (Team STA Domino’s stores).



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       3.     Plaintiff worked for Defendants as a delivery driver at their

Lathrup Village and Royal Oak, Michigan locations.

       4.     Defendants have repeatedly and willfully violated the Fair Labor

Standards Act and Michigan minimum wage law by failing to adequately

reimburse Plaintiff for his delivery-related expenses, thereby failing to pay

Plaintiff the legally mandated minimum wages for all hours worked.

 II.   Jurisdiction and Venue

       5.     Under 28 U.S.C. § 1541 and 29 U.S.C. § 216(b), this Court has

jurisdiction over Plaintiff’s FLSA claims.

       6.     Under 28 U.S.C. § 1367, this Court has supplemental jurisdiction

over Plaintiff’s Michigan law claims.

       7.     Venue in this Court is proper under 28 U.S.C. § 1391(b) because

the parties reside in this district and a substantial part of the events giving

rise to the claim herein occurred in this district and division.

   III.     Parties

Plaintiff
       8.     Plaintiff Chris Connolly resides in Berkley, Michigan. At all times

material herein, Plaintiff worked within the boundaries of the Eastern District

of Michigan.

       9.     Plaintiff was an “employee” of all of the Defendants as defined in

the FLSA and M.C.L. §408.414.
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      10.    Plaintiff has given written consent to join this action.

Defendants

STA Management, LLC

      11.    STA Management, LLC is a Michigan limited liability company

with a principal place of business at 29850 Northwestern Hwy, Suite 200,

Southfield, Michigan 48034.

      12.    Amer Asmar is the owner of STA Management, LLC

      13.    STA Management, LLC operates or has operated during the

relevant time period over 54 Domino’s Pizza stores in Michigan.

      14.    STA Management, LLC had substantial control over Plaintiff’s

working conditions, and over unlawful policies and practices alleged herein.

      15.    STA Management, LLC had direct or indirect control over the

terms and conditions of Plaintiff’s work.

      16.    At all relevant times, STA Management, LLC maintained control,

oversight, and direction over Plaintiff including, but not limited to hiring, firing,

disciplining, timekeeping, payroll, reimbursements, payrates, deductions,

and other practices.

      17.    STA Management, LLC was an “employer” of Plaintiff as that

term is defined by the FLSA and Michigan law.



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        18.   At all relevant times, STA Management, LLC has been and

continues to be an enterprise engaged in “the production of goods for

commerce” within the meaning of the phrase as used in the FLSA.

        19.   STA Management, LLC’s gross revenue exceeds $500,000 per

year.

Amer Asmar

        20.   Amer Asmar is the owner and CEO of STA Management, LLC

        21.   Amer Asmar is the owner and CEO of STA Management, LLC

Domino’s stores (“Team STA Domino’s stores”).

        22.   Amer Asmar is the owner and CEO of other legal entities that

operate the Team STA Domino’s stores.

        23.   Amer Asmar is individually liable for Plaintiff’s claims under the

definitions of “employer” set forth in the FLSA and Michigan law because he

owns and operates the Team STA Domino’s stores, serves as a manager

and/or member of STA Management, LLC, ultimately controls significant

aspects of Team STA Domino’s stores day-to-day functions, and ultimately

controls compensation and reimbursement of employees at Team STA

Domino’s stores. 29 U.S.C. § 203(d).




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      24.    At all times relevant, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had financial control over the

operations at each of the Team STA Domino’s stores.

      25.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has a role in significant aspects of the

Team STA Domino’s stores’ day-to-day operations.

      26.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had control over the Team STA

Domino’s stores’ pay policies.

      27.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had power over personnel and

payroll decisions at the Team STA Domino’s stores, including but not limited

to influence of delivery driver pay.

      28.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had the power to hire, fire, and

discipline employees, including delivery drivers at the Team STA Domino’s

stores.

      29.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had the power to stop any illegal

pay practices that harmed delivery drivers at the Team STA Domino’s stores.

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      30.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had the power to transfer the

assets and liabilities of Team STA Domino’s stores.

      31.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had the power to declare

bankruptcy on behalf of Team STA Domino’s stores.

      32.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had the power to enter into

contracts on behalf of Team STA Domino’s stores.

      33.   At all relevant times, by virtue of his role as owner and CEO of

STA Management, LLC, Amer Asmar has had the power to close, shut down,

and/or sell each of the Team STA Domino’s stores.

      34.   At all relevant times, by virtue of his role as an owner and CEO

of STA Management, LLC, Amer Asmar had authority over the overall

direction of each Team STA Domino’s stores store and was ultimately

responsible for their operations.

      35.   The Team STA Domino’s stores function for Amer Asmar’s profit.

      36.   Amer Asmar has influence over how the Team STA Domino’s

stores can run more profitably and efficiently.

John Doe Corporations 1-10

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     37.      Upon information and belief, and in anticipation of likely

evidentiary support after a reasonable opportunity for discovery, Defendants

own and operate other entities and/or limited liability companies that also

qualify as Plaintiff’s “employer” under the FLSA and Michigan law.

     38.      The identities of these additional Defendants should be revealed

as discovery progresses and can be named at that time.

John Doe 1-10

     39.      Upon information and belief, and in anticipation of likely

evidentiary support after a reasonable opportunity for discovery, there are

other Defendants who own an interest and/or have operational control over

the Team STA Domino’s stores that also qualify as Plaintiff’s “employer”

under the FLSA.

     40.      The identities of these additional Defendants should be revealed

as discovery progresses and can be named at that time.

  IV.      Plaintiff’s Factual Allegations

     41.      Plaintiff worked at Defendants’ Domino’s store in Lathrup,

Michigan and Royal Oak, Michigan from April 2017 to April 2020.

     42.      Plaintiff was an hourly, non-exempt employee of Defendants.

     43.      As a delivery driver, Plaintiff delivered pizza and other food items

to Defendants’ customers’ homes and businesses.

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      44.   When he was not making deliveries, Plaintiff worked inside the

restaurant, completing tasks such as making pizza, building pizza boxes,

taking out trash, mopping and sweeping, dishwashing, food preparation,

answering phones, and completed other general tasks within the store.

      45.   Plaintiff was paid at or close to Michigan minimum wage for the

hours he works inside the store.

      46.   Plaintiff was paid minimum wage minus a tip credit for the hours

he works completing deliveries.

      47.   Plaintiff drove his personal car to make deliveries for Defendants.

      48.   Defendants required Plaintiff to incur and/or pay job-related

expenses, including but not limited to automobile costs and depreciation,

gasoline expenses, automobile maintenance and parts, registration,

licensing, and financing costs, and other equipment necessary for delivery

drivers to complete their job duties.

      49.   Pursuant to such requirements, Plaintiff purchased gasoline,

vehicle parts and fluids, automobile repair and maintenance services,

automobile insurance, registration, licensing, and financing costs, and

suffers automobile depreciation all for the primary benefit of Defendants.

      50.   Plaintiff regularly made approximately two to three deliveries per

hour during the hours he worked as a delivery driver.

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      51.   Defendants did not record all of Plaintiff’s actual expenses

incurred while completing deliveries for them.

      52.   Defendants did not reimburse Plaintiff at the IRS standard

business mileage rate for each mile he drove.

      53.   Defendants did not reimburse Plaintiff based on his actual

expenses.

      54.   Defendants did not reimburse Plaintiff based on a reasonable

approximation of his expenses.

      55.   Plaintiff was reimbursed at a flat-rate of $1.00 per delivery while

completing deliveries for Defendants.

      56.   Plaintiff estimates that he drove on average approximately 3.15

miles round trip per delivery.

      57.   Plaintiff’s per mile reimbursement averages to $.31 per mile

($1.00 / 3.15 miles) per delivery.

      58.   During   2019,       for   example,   the IRS   business   mileage

reimbursement has been $.58 per mile, which reasonably approximated the

automobile expenses incurred delivering pizzas. http://www.irs.gov/Tax-

Professionals/Standard-Mileage-Rates. Using that IRS rate as a reasonable

approximation of Plaintiff’s automobile expenses, every mile he drove on the

job decreased his net wages by approximately $.27 ($.58 - $.31) per mile.

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Considering Plaintiff’s estimate of about 3.15 average miles per delivery,

Defendants under-reimbursed him about $.85 per delivery ($.27 x 3.15

average miles).

      59.     Thus,   Plaintiff   consistently   “kicks   back”   to   Defendants

approximately $2.55 per hour ($.85 per delivery x 3 deliveries per hour).

      60.     Defendants failed to properly claim a tip credit from Plaintiff’s

wages because they failed to pay the wage rate they promised they would

pay, after accounting for unreimbursed expenses.

      61.     As a result of unreimbursed improperly taking a tip credit from

Plaintiff’s wages, automobile expenses, and clock in/out procedures,

Defendants have failed to pay Plaintiff minimum wage as required by law.

   IV.      Causes of Action

                                   Count 1
            Failure to Pay Minimum Wages - Fair Labor Standards Act

      62.     Plaintiff restates and incorporates the foregoing allegations as if

fully rewritten herein.

      63.     Plaintiff was a non-exempt, hourly employee entitled to receive

no less than minimum wage for all hours worked.

      64.     Defendants paid Plaintiff at or close to minimum wage for all

hours worked.


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      65.   Defendants required Plaintiff to pay for automobile expenses and

other job-related expenses out of pocket and failed to properly reimburse

Plaintiff for said expenses.

      66.   By the acts and conduct described above, Defendants willfully

violated the provisions of the FLSA and disregarded the rights of Plaintiff.

      67.   Plaintiff has been damaged by Defendants’ willful failure to pay

minimum wage as required by law.

      68.   As a result of Defendants’ willful violations, Plaintiff is entitled to

damages, including, but not limited to, unpaid wages, unreimbursed

expenses, liquidated damages, costs, and attorneys’ fees.

                                      Count II
                  Failure to Pay Minimum Wage – M.C.L. §408.414

      69.   Plaintiff restates and incorporates the following allegations as if

fully rewritten herein.

      70.   Defendants paid Plaintiff below minimum wage for hours he

worked by requiring him to cover automobile expenses and other job-related

expenses.

      71.   The Michigan Workforce Opportunity Wage Act, M.C.L.

§408.411, et seq. requires that employers be paid not less than minimum

wage as determined by an inflation index (currently $9.65/hour) for all hours

worked.
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          72.   Because Defendants required and continue to require Plaintiff to

pay for automobile expenses and other job-related expenses out of pocket,

Defendants failed to pay Plaintiff minimum wage.

          73.   As a result of Defendants’ willful violations, Plaintiff is entitled to

damages, including but not limited to unpaid wages, unreimbursed

expenses, an additional one times unpaid wages/unreimbursed expenses in

liquidated damages, costs, and attorney fees pursuant to M.C.L. §408.419.

          WHEREFORE, Plaintiff Chris Connolly prays for all of the following

relief:

          A.    Unpaid minimum wages, reimbursement of expenses, and an

additional and equal amount as liquidated damages pursuant to the FLSA

and supporting regulations.

          B.    A declaratory judgment that the practices complained of herein

are unlawful under the Workplace Opportunity Wage Act, M.C.L. §408.411,

et seq. and that Defendants’ violations were willful.

          C.    An award of damages under M.C.L. §408.419, based on

Defendants’ willful failure to pay minimum wages, calculated as an additional

one time of back wages as liquidated damages, attorney’s fees, and costs.

          D.    An award of prejudgment and post-judgment interest.



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      E.   An award of costs and expenses of this action, together with

reasonable attorneys’ fees and expert fees.

      F.   Such other legal and equitable relief as the Court deems

appropriate.



                                   Respectfully submitted,

Dated: July 1, 2020

                                   /s/ Bradley K. Glazier
                                   Bradley K. Glazier (P35523)
                                   Robert M. Howard (P80740)
                                   BOS & GLAZIER, P.L.C.
                                   990 Monroe Avenue, N.W.
                                   Grand Rapids, MI 49503
                                   Telephone: (616) 458-6814
                                   Email: bglazier@bosglazier.com

                                   and

                                   Andrew P. Kimble (pro hac              vice
                                   forthcoming)
                                   Philip J. Krzeski (pro hac             vice
                                   forthcoming)
                                   Biller & Kimble, LLC
                                   8044 Montgomery Rd., Ste. 515
                                   Cincinnati, OH 45209
                                   Telephone: (513) 715-8711
                                   Facsimile: (614) 340-4620
                                   akimble@billerkimble.com
                                   pkrzeski@billerkimble.com




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                               JURY DEMAND


      Plaintiff hereby demands a jury trial by the maximum persons

permitted by law on all issues herein triable to a jury.


                                     Respectfully submitted,

                                     /s/ Bradley K. Glazier
                                     Bradley K. Glazier (P35523)
                                     Robert M. Howard (P80740)
                                     BOS & GLAZIER, P.L.C.
                                     990 Monroe Avenue, N.W.
                                     Grand Rapids, MI 49503
                                     Telephone: (616) 458-6814
                                     Email: bglazier@bosglazier.com

                                     and

                                     Andrew P. Kimble (pro hac vice
                                     forthcoming)
                                     Philip J. Krzeski (pro hac vice
                                     forthcoming)
                                     Biller & Kimble, LLC
                                     8044 Montgomery Rd., Ste. 515
                                     Cincinnati, OH 45209
                                     Telephone: (513) 715-8711
                                     Facsimile: (614) 340-4620
                                     akimble@billerkimble.com
                                     pkrzeski@billerkimble.com




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